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15-cv-24260-FAM Document 17 Entered on FLSD Docket 01/11/2016 Page 1 of 16
Unied States District Court

Southern Districk oF Florida FILED by One.
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JAN @4 2016

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Jesse |gor, .
Plaintiff, Notice OF Objection

 

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Defendants ’ /

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MEMO FROM LEGAL RESEARCH ASSOCIATES (LRA)

RE: Secondary Legal Material

Secondary source materials for legal research are not available for printing. We will
provide you with all State and Federal primary legal material and Florida Jurisprudence
for secondary source information on topics that you specify.

Thank you,

LRA
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MEMO FROM LEGAL RESEARCH ASSOCIATES

(NO INFORMATION AVAILABLE)

OTHER THAN INFORMATION ENCLOSED, THERE IS NO OTHER
ADDITIONAL INFORMATION RELATED TO THE SUBJECT MATTER
ON ITEM NUMBER THREE SUBMITTED.

THEREFORE, WE ARE UNABLE TO PROVIDE YOU WITH LEGAL

INFORMATION AT THIS TIME. PLEASE RE-SUBMIT YOUR
REQUEST IF YOU DISCOVER OTHER ADDITIONAL INFORMATION.

THANK YOU,

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